22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 1 of 7




                          IN THE UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

    IN RE:                                                   §
                                                             §
    WESTMOUNT GROUP, INC.,                                   §       Case No. 21-30633-HCM-7
                                                             §
                               Debtor.                       §        Chapter 7
    ------------------------------------------------------   -   ----------------------------------------------
    BRAD W. ODELL, CHAPTER 7                                 §
    TRUSTEE                                                  §
                        Plaintiff                            §
                                                             §   ADVERSARY NO. 22-03004-hcm
    v.                                                       §
                                                             §
    TECHROVER, INC. and                                      §
    KEYVAN PARSA,                                            §
              Defendants                                     §

                        PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

   TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

           NOW COMES, Brad W. Odell, Chapter 7 Trustee (“Trustee” or “Plaintiff”), by and

   through his undersigned counsel, and files his Motion for Default Judgment against Defendants,

   Techrover, Inc. (“Techrover”) and Keyvan Parsa (“Parsa”) (collectively the “Defendants”), as

   authorized by Federal Rule of Bankruptcy Procedure 7055, and in support would respectfully show

   the Court as follows:

                                         A. JURISDICTION AND VENUE

           1.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 157(b) and

   § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B), (F), (H), and (O).

           2.       Venue is proper in this district pursuant to 28 U.S.C. § 1409.

                                         B. BACKGROUND AND FACTS

           3.       Plaintiff is the Trustee, who is the duly appointed chapter 7 trustee of Westmount

   Group, Inc. (“Westmount” or the “Debtor”).


   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                                PAGE 1 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 2 of 7




          4.       Defendants are Techrover Inc., a Texas corporation, with a last known business

   address of 71 Camille Drive, El Paso, TX 79912, and Keyvan Parsa, an individual residing in the

   state of Texas, with a last known mailing address of 810 N. Kansas, El Paso, Texas 79902.

          5.       On April 19, 2022, Plaintiff filed its Original Complaint (the “Complaint”) in the

   above referenced adversarial proceeding, against the Defendants to avoid certain transfers under

   §§ 544, 547, 548, 549, and 550 of Title 11 of the United States Code (the “Bankruptcy Code”),

   which the Defendants received from the Debtor, and to disallow any claim that the Defendants

   have filed or asserted against the Debtor, or that has been scheduled for Defendants under § 502(d)

   of the Bankruptcy Code. A true and correct copy of Plaintiff’s Original Complaint is attached

   hereto as Exhibit “A.” Plaintiff’s Original Complaint can also be found on the Court’s docket in

   this adversary proceeding at Docket No. 1.

          6.       On April 19, 2022, the Court issued the summons in this adversary proceeding. A

   true and correct copy of the summons is attached hereto as Exhibit “B.” The summons can also be

   found on the court’s docket in this adversary proceeding at Docket No. 2.

          7.       On April 22, 2022, a copy of Plaintiff’s Complaint with citation was served on

   Techrover through its registered agent, Keyvan Parsa, at 810 N. Kansas, El, Paso, Texas 79902. A

   true and correct copy of the Certificate of Service for Techrover is attached hereto as Exhibit “C.”

   The Certificate of Service can also be found on the Court’s docket in this adversary proceeding at

   Docket No. 3.

          8.       On April 22, 2022, a copy of Plaintiff’s Complaint with citation was personally

   served on Parsa at 810 N. Kansas, El Paso, Texas 79902. A true and correct copy of the Certificate

   of Service for Parsa is attached hereto as Exhibit “D.” The Certificate of Service can also be found

   on the Court’s docket in this adversary proceeding at Docket No. 4.




   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                  PAGE 2 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 3 of 7




          9.      The deadline for Defendants to file an answer, a responsive pleading, or otherwise

   defend the suit, as set forth in the summons, was May 19, 2022.

          10.     On May 26, 2022, Plaintiff filed his Request for Entry of Default against the

   Defendants because neither Defendant filed an answer, a responsive pleading, or otherwise

   defended the suit before the deadline on May 19, 2022. A true and correct copy of Plaintiff’s

   Request for Entry of Default is attached hereto as Exhibit “E.” The Request for Entry of Default

   can also be found on the Court’s docket in this adversary proceeding at Docket No. 5.

          11.     On June 24, 2022, the Court ordered Plaintiff to seek an Entry of Default from the

   Clerk, which, as set forth in paragraph 10, Plaintiff had already filed a request for entry of default

   against Defendants. The Court likewise ordered the Plaintiff to seek a default judgment against the

   Defendants after the Entry of Default had been entered by the Clerk. A true and correct copy of

   the Order to Seek Default is attached hereto as Exhibit “F.” The Order to Seek Default can also be

   found on the Court’s docket in this adversary proceeding at Docket No. 9.

          12.     On June 24, 2022, the Clerk’s Entry of Default was entered against both Defendants

   as authorized by Bankruptcy Rule 7055. A copy of the Clerk’s Entry of Default is attached hereto

   as Exhibit “G.” The Clerk’s Entry of Default can also be found on the Court’s docket in this

   adversary proceeding at Docket No. 10.

          13.     Plaintiff, pursuant to the Court’s Order, respectfully requests the Court to enter a

   default judgment against the Defendants.

                                              C. ARGUMENT

          14.     The Court may render a default judgment against a party who has not filed a

   responsive pleading or otherwise defended the suit. See FED. R. CIV. P. 55(a), (b)(1); FED. R.

   BANKR. P. 7055.




   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                    PAGE 3 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 4 of 7




          15.     The Court should enter a default judgment against the Defendants because the

   Bankruptcy Clerk issued a summons to the Defendants on April 19, 2022, which was duly served

   with Plaintiff’s Complaint, to each Defendant on April 22, 2022, and each Defendant has failed to

   file a responsive pleading, which is evident by the Clerk’s Entry of Default against Defendants

   Techrover, Inc., and Keyvan Parsa.

          16.     Plaintiff meets the procedural requirements for obtaining a default judgment from

   the Court as demonstrated by the Trustee’s sworn affidavit. A true and correct copy is attached as

   Exhibit “H” and incorporated herein for all purposes. Further, the Trustee’s affidavit establishes

   Defendant Parsa is not a minor, incompetent person, a member of the military, the U.S.

   government, or a federal officer or agency. See 50 U.S.C. §3931(b)(1); FED R. CIV. P. 55(b)(1),(d).

          17.     Because the Defendants did not file an answer or otherwise defend the suit,

   Defendants are not entitled to notice of entry of default judgment. See FED. R. CIV. P. 55(b)(1);

   Franchise Holding II, LLC v. Huntington Rests. Grp., Inc., 375 F. 3d 922, 927-28, (9th Cir. 2004).

   However, Plaintiff intends to send a copy of this Motion to each of the Defendants to provide them

   with notice of Plaintiff’s intent to obtain a Default Judgment against each of them. Service will be

   made to the same address at which the summons was sent to the Defendants.

          18.     The last known business address for Defendant Techrover is 71 Camille Drive, El

   Paso, TX 79912; however, Defendant Techrover may also be served by serving its registered agent

   Keyvan Parsa at 810 N. Kansas, El Paso, Texas 79902. A true and correct copy of the Certificate

   of Last Known Address is attached hereto as Exhibit “I.”

          19.     The last known address for Defendant Parsa is 810 N. Kansas, El Paso, Texas

   79902. A true and correct copy of the Certificate of Last Known Address is attached hereto as

   Exhibit “I.”




   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                  PAGE 4 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 5 of 7




                                      D. LIABILITY AND DAMAGES

          20.       Defendants’ failure to answer the Complaint or defend against the Complaint, and

   the Clerk’s Entry of Default establishes Defendants’ liability for the claims the Trustee made in

   the Complaint.

          21.       Plaintiff sued Defendants for transfers made by the Debtor prior to or after the filing

   of its bankruptcy case. Defendant Techrover received a transfer of $450,000. Defendant Parsa

   received a transfer of $190,444.65.

          22.       Evidence of these transfers are set forth on Debtor’s Statement of Financial Affairs

   filed in the Debtor’s main bankruptcy case at Docket No. 94. On page 2, lines 4.1 and 4.2 Debtor

   discloses that it paid to Techrover $450,000.00 on June 8, 2021, and to Parsa $190,444.65 on

   August 23, 2021. A true and correct copy of Debtor’s Statement of Financial Affairs (“SOFAs”)

   is attached to this Motion as Exhibit “J.”

          23.       The SOFAs was signed by Parsa under penalty of perjury.

          24.       Additionally, Parsa testified at the Debtor’s meeting of creditors that he transferred

   to himself the amount set forth on the SOFAs as payment for legal expenses he covered related to

   the Debtor and other business entities.

          25.       Trustee asserts, based on the sworn SOFAs, that the claims set forth in the

   Complaint are for a sum certain or can be reliably computed. See FED. R. CIV. P. 55(b)(1). Trustee

   therefore asserts that the damages against both Defendants are liquidated and that a hearing is not

   necessary for the Court to establish damages. Plaintiff seeks a default judgment against Defendant

   Techrover in the amount of $450,000. Plaintiff seeks a default judgment against Defendant Parsa

   in the amount of $190,444.65.

          26.       Further, Plaintiff seeks a default judgment against the Defendants that Defendants




   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                      PAGE 5 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 6 of 7




   are not entitled to any claims in the bankruptcy case of Debtor unless Defendants pay the amounts

   set forth herein and properly file a claim in the Debtor’s bankruptcy case.

          27.     To the extent, the Court believes damages are not liquidated, the Trustee requests a

   hearing on the Motion to establish the damages set forth in the Complaint.

                                               E. PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays the Court enter a

   default judgment against Defendants, Techrover, Inc. and Keyvan Parsa, award the Plaintiff

   damages against Defendant Techrover, Inc. in the amount of $450,000.00 and against Defendant

   Keyvan Parsa in the amount of $190,444.65, disallow any claim the Defendants have filed or may

   file against the bankruptcy estate of Westmount Group, Inc. until such sum certain is paid in full,

   award Plaintiff his costs for bringing this suit, and grant Plaintiff post-judgment interest on the

   default judgment as allowed by law.

                                                 Respectfully Submitted,

                                                 By:    /s/ Brad W. Odell_____
                                                        Brad W. Odell

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   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                 PAGE 6 OF 7
22-03004-hcm Doc#12 Filed 07/01/22 Entered 07/01/22 11:36:40 Main Document Pg 7 of 7




                                   CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of Plaintiff’s Motion for Default Judgment
   was mailed by regular first-class mail, postage prepaid, on this the 1st day of July, 2022, to the
   following listed parties in interest:

      1. Keyvan Parsa
         810 N. Kansas
         El Paso, Texas 79902

      2. Techrover, Inc.
         Attn: Keyvan Parsa, Registered Agent
         810 N. Kansas
         El Paso, Texas 79902

      3. Techrover, Inc.
         71 Camille Drive
         El Paso, Texas 79912


                                                /s/ Brad W. Odell
                                                Brad W. Odell




   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT                                                PAGE 7 OF 7
